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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATE§ IZISTRICT CoURT §‘t;te§?§§?é§t§rg£§t
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Southern District of Texas MAY g 3 2018
United States of America ) §W=?§§ JFM§@£CU§WM
V. )
Jose l\/|artin CARlVlONA- Gonza|ez ) Case No. /V' »- /g ~‘ /‘O g $/M "O a`
M)r ct-z YOB: 1972 Al
Def€ndanl(s) D§/z$j/B

CRIMINAL COMPLAINT

 

I, the complainant in this case7 state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of lVlay 18, 2018 in the county of Cameron in the
Southern District of Texas , the defendant(s) violated:
Code Section O]jfense Description
18 USC Section 554, & 2 Did knowingly and unlawfully export or attempt to export from the United

States, any merchandise article, or object to Wit: a lVl203 Launcher Barrel,
as defined by the United States lVlunitions List, contrary to any law or
regulation of the United States, in that the Defendants had not obtained a
license or Written authorization for such export, in violation of Tit|e 22, United
States Code, Sections 2278(b)(2) and 2278(<:) and Title 22, Code of Federa|
Regulalions, Sections 121.1,123.1, 127.1 and 127.3 all in violation of Title 18,
United States Code, Section 554.

This criminal complaint is based on these facts:
See Attachment "A"

E{ Continued on the attached sheet.

 

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Complaz'nant ’S signature
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Ryan NlcTaqqart Special Aqent HS\

Printed name wild title

 

SWorn to before me and signed in my presence.

Mn… / ash

/ ?/:/ z/y "'~"~\ Judge 5 signature

City and state: |V|cAllen, Texas Peter E .Ormsby, United States l\/lagistrate Judge

Primed name and title

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Attachment “A”

On May 18, 2018, as part of an ongoing firearms trafficking investigation, Homeland
Security lnvestigations (HSI) Special Agents (SA) encountered Jose Martin CARMONA-
Gonzalez (hereafter referred to as CARMONA-Gonzalez) at a residence in Brownsville, Texas.
CARMONA-Gonzalez consented to a search of CARMONA-Gonzalez vehicle, located at the
residence, which resulted in”’the discovery of a package addressed to Maria Ramirez at an address
in Brownsville, TeXas. CARMONA-Gonzalez stated CARMONA-Gonzalez resided at the
address on the package and that no one named Maria Ramirez resided with CARMONA-
Gonzalez. CARMONA-Gonzalez also stated the package contained a launcher tube.

CARMONA-Gonzalez consented to SAs opening the package and the package was found
to contain an l\/I203 grenade launcher barrel.

During a post Miranda interview, CARMONA-Gonzalez stated CARMONA-Gonzalez
had been contacted by an unnamed co-conspirator, in Mexico, who recruited CARMONA-
Gonzalez to receive packages ordered by the unnamed co-conspirator in MeXico at CARMONA-
Gonzalez residence

1 CARMONA-Gonzalez stated CARMONA-Gonzalez knew the package contained a
grenade launcher barrel and that the MZ(B launcher barrel was destined to be smuggled into
Mexico by additional criminal co-conspirators.

CARMONA-Gonzalez stated CARMONA-Gonzalez knew it was illegal to smuggle the
launcher barrel into Mexico.

According to the Department of State Office of Defense Trade Controls Compliance
(DTCC) M203 launcher tubes are determined to be a defense article described on the United
States Mum`tions List (USML) and regulated for export pursuant to the Arms EXport Control Act

(22 U.s.C. 2778).

